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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

SPINRILLA, LLC,                         )
                                        )
      Plaintiff,                        )      Civil Action File No.:
                                        )
v.                                      )      1:20-cv-0492-AT
                                        )
RECORDING INDUSTRY                      )
ASSOCIATION OF                          )
AMERICA, INC.,                          )
                                        )
      Defendant.                        )

                     SPINRILLA, LLC’S REPLY
           IN FURTHER SUPPORT OF ITS RULE 56(D) MOTION

      Spinrilla, LLC (“Spinrilla”) files this Reply in Further Support of Its Motion

under Rule 56(d) (Dkt. 24), which requested that the Court defer ruling of

Defendant’s Motion for Summary Judgment (Dkt. 13) until thirty (30) days after the

close of the discovery period.

I.    Introduction

      The Court should deny Defendant’s Motion for Summary Judgment (Dkt. 13)

on the merits because Spinrilla has presented evidence creating genuine disputes of

material facts. (See Pl. Opp., Dkt. 23). If the Court does not, however, Spinrilla seeks

to conduct relevant, necessary discovery to allow it to provide further evidence in

opposition to that Motion. In particular, Spinrilla should be afforded the opportunity
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to conduct written discovery and take, at least, the deposition of Ms. Traci Crippen.

Defendant argues that Ms. Crippen’s testimony establishes Defendant’s subjective

good faith belief that the 2 Minute Warning audio file listed as an example of one of

Defendant’s 512(f) violations in Paragraph 43 of the Complaint (“Audio File”) was

non-infringing. (Def. Br., Dkt. 13-1 at 14). Spinrilla is entitled to take the deposition

of Ms. Crippen to probe the basis for that claim.

II.   Argument and Citation to Authorities

      In opposing Spinrilla’s Rule 56(d) Motion, Defendant argues that discovery

is unnecessary and will not raise a genuine issue of material fact. (Def. Br., Dkt. 36,

at 13). Defendant even claims that Spinrilla has all facts necessary to respond to

Defendant’s summary judgment motion. (Id.). Unsurprisingly, in its discussion of

the purportedly “irrelevant” discovery Spinrilla seeks to conduct, Defendant is silent

as to the deposition of Ms. Crippen sought by Spinrilla. That deposition (and

background discovery to inform the deposition) is critical to for Spinrilla to fully

respond to Defendant’s assertion that Ms. Crippen’s alleged good faith belief that

the audio file 2 Minute Warning was infringing.

      The Eleventh Circuit “has often noted that summary judgment should not be

granted until the party opposing the motion has had an adequate opportunity for

discovery.” (Snook v. Tr. Co. of Ga. Bank of Savannah, N.A., 859 F.2d 865, 870

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(11th Cir. 1988)). Spinrilla has “a right to challenge the affidavits and other factual

materials submitted in support of the motion by conducting sufficient discovery so

as to enable [them] to determine whether [they] can furnish opposing affidavits.”

(Id.) (citing Parrish v. Bd. of Comm’rs of the Ala. State Bar, 533 F.2d 942, 948 (5th

Cir. 1976)). In filing for summary judgment before the start of discovery and arguing

that Spinrilla should not be allowed to take Ms. Crippen’s deposition, Defendant

seeks to deprive Spinrilla of that right.

      Moreover, the other discovery Spinrilla seeks is likewise relevant to

Spinrilla’s opposition to Defendant’s summary judgment motion. Defendant argues

that discovery regarding its “general policies regarding identification of allegedly

infringing songs,” “knowledge of material misrepresentations in takedown notices

sent to third parties,” and Defendant’s “motivation to send-over inclusive takedown

notices” is irrelevant to Defendant’s summary judgment motion. (Def. Br., Dkt. 36,

at 13-14). But, these topics are directly relevant.

      In its Motion for Summary Judgment, Defendant argued that “other indicia of

infringement” demonstrate Defendant’s good faith belief that the 2 Minute Warning

audio file was infringing. (Def. Br, Dkt. 13-1, at 19). Spinrilla countered that

argument with evidence regarding Defendant’s knowledge that such indicia are

inherently unreliable. (Pl. Opp., Dkt. 23, at 21-22). In addition, Spinrilla argued that

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Defendant has a motive to overclaim infringement (Id. at 22). That same motive to

overclaim infringement was sufficient to create a genuine issue of material fact in

Disney Enterprises, Inc., v. Hotfile Corp., No. 11-20427-CIV, 2013 WL 6336286

(S.D. Fl. September 20, 2013). In addition, Spinrilla showed that Defendant has

heavily criticized the takedown process, calling it “frustrating” and “extremely

burdensome.” (Pl. Opp., Dkt. 23, at 22). Accordingly, discovery into the topics such

as Defendant’s general policies regarding identification of allegedly infringing

songs, knowledge of material misrepresentations in takedown notices sent to third

parties, and Defendant’s motivation to send-over inclusive takedown notices is

relevant to the summary judgment motion and may reveal additional facts to support

Spinrilla’s opposition to that motion.

IV.   Conclusion

      For the foregoing reasons, Spinrilla requests that should the Court not deny

Defendant’s Motion for Summary Judgment outright, the Court allow Spinrilla to

conduct discovery, including the deposition of Traci Crippen so that it may present

additional facts essential to resolution of the motion, including facts that pertain to

Defendant’s alleged good faith belief that audio files contained in the takedown

notices infringed copyrights held by Defendant’s members.



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      Respectfully submitted this 12th day of June, 2020.

LILENFELD PC

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       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1


      I certify that the foregoing document is written in 14-point Times New Roman

font in accordance with Local Rule 5.1.

/s/David M. Lilenfeld
David M. Lilenfeld




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                                       )
RECORDING INDUSTRY                     )
ASSOCIATION OF                         )
AMERICA, INC.,                         )
                                       )
        Defendant.                     )

                          CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2020, the foregoing REPLY IN FURTHER

SUPPORT OF SPINRILLA, LLC’S RULE 56(d) MOTION was filed electronically

with the Court using the CM/ECF system, which action will cause automatic

electronic notification of the filing from the Court to be served upon the following:

      Andrew H. Bart        Olivia G. Hoffman            James A. Lamberth
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Dated: June 12, 2020.

/s/ David M. Lilenfeld
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